
Upon consideration of the order of the Supreme Court of the United States vacating the judgment of this Court and remanding this cause for further consideration in light of its decision in Davis v. Washington, 547 U.S. ___, 126 S.Ct. 2266, 165 L.Ed.2d 224 (2006), the following order is entered:
Defendant shall have 20 days from the filing of this order to file and serve a supplemental brief with this Court, limited to the question of whether there was error in this case pursuant to Davis v. Washington. State v. Lewis, 360 N.C. 1, 619 S.E.2d 830 (2005). The State may file its brief in response within 20 days after service of the defendant's brief. Each side will be allowed up to 20 minutes of oral argument.
By order of the Court in Conference, this 17th day of August 2006.
